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                    Exhibit D
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  NY Philharmonic Musicians
  Orchestra
  Official account of the Musicians of the New York Philharmonic 🎵
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Our new h… Alison Fierst Anthony …   Ryan Rob…   NYP Cellists Yoobin Son



                  114                                        15.1K                                 565
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